                               EXHIBIT 2
                                    Notice




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                   UNITED STATES BANKRUPTCY COURT
                     EASTERN DISTRICT OF MICHIGAN

                              SOUTHERN DIVISION



In re                                        Chapter 9


                                             Case No. 13-53846
CITY OF DETROIT, MICHIGAN,

                                             Hon. Steven W. Rhodes
                             Debtor.




            NOTICE OF MOTION AND OPPORTUNITY TO RESPOND


       PLEASE TAKE NOTICE that on March 3, 2014, the Debtor, City of
Detroit, filed its Motion for Entry of an Order, Pursuant to Section 105(a) of the
Bankruptcy Code and Bankruptcy Rule 9019, Approving a Settlement and Plan
Support Agreement and Granting Related Relief (the “Motion”) in the United
States Bankruptcy Court for the Eastern District of Michigan (the “Bankruptcy
Court”).

      PLEASE TAKE FURTHER NOTICE that your rights may be affected
by the relief sought in the Motion. You should read these papers carefully
and discuss them with your attorney, if you have one. If you do not have an
attorney, you may wish to consult one.

      PLEASE TAKE FURTHER NOTICE that if you do not want the
Bankruptcy Court to grant the Debtor’s Motion, or you want the Bankruptcy Court
to consider your views on the Motion, within 24 days1 you or your attorney must:


        1
        Concurrently herewith, the Debtor has filed a motion seeking to shorten the
notice period and expedite the hearing, if any, on the Motion. If that motion is

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       1.    File a written objection or response to the Motion explaining your
position with the Bankruptcy Court electronically through the Bankruptcy Court’s
electronic case filing system in accordance with the Local Rules of the Bankruptcy
Court or by mailing any objection or response to:2

                          United States Bankruptcy Court
                            Theodore Levin Courthouse
                              231 West Lafayette Street
                                 Detroit, MI 48226

               You must also serve a copy of any objection or response upon:

                                     Jones Day
                                  222 East 41st Street
                              New York, New York 10017
                      Attn: Corinne Ball and Benjamin Rosenblum

                                         -and-

                               Pepper Hamilton LLP
                           Suite 1800, 4000 Town Center
                             Southfield, Michigan 48075
                  Attn: Robert Hertzberg and Deborah Kovsky-Apap

      2.    If an objection or response is timely filed and served, the clerk will
schedule a hearing on the Motion and you will be served with a notice of the date,
time and location of the hearing.

      PLEASE TAKE FURTHER NOTICE that if you or your attorney do
not take these steps, the court may decide that you do not oppose the relief
sought in the Motion and may enter an order granting such relief.




granted, the Court will enter an order on the docket setting the deadline to respond
to the Motion.
      2
          A response must comply with F. R. Civ. P. 8(b), (c) and (e).


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Dated: March 3, 2014                  Respectfully submitted,

                                      /s/ Robert S. Hertzberg
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